                                                       Case 2:20-cv-00263-RFB-NJK Document 48 Filed 12/29/20 Page 1 of 2


                                                   1   SAO
                                                       BLACK & WADHAMS
                                                   2   Chris V. Yergensen, Esq.
                                                       Nevada Bar No. 6183
                                                   3   10777 West Twain Avenue, 3rd Floor
                                                   4   Las Vegas, Nevada 89135
                                                       Telephone: (702) 869-8801
                                                   5   Facsimile: (702) 869-2669
                                                       E-mail: cyergensen@blackwadhams.law
                                                   6   Attorneys for Plaintiffs
                                                   7
                                                                                    UNITED STATES DISTRICT COURT
                                                   8

                                                   9                                         DISTRICT OF NEVADA

                                                  10
                                                       RONALD HAUS, an individual; and EVA Case No.: 2:20-cv-00263-RFB-NJK
                                                  11   BEROU, an individual
                                                  12                           Plaintiff,
                                                              v.                                      STIPULATION AND ORDER TO
                                                  13
BLACK & WADHAMS

             (702) 869-8801 FAX: (702) 869-2669
               10777 W. Twain Avenue, 3rd Floor




                                                                                                      CONTINUE RESPONSE DATE FOR
                                                       THE BANK OF NEW YORK MELLON FKA MOTION FOR SUMMARY JUDGMENT
                   Las Vegas, Nevada 89135




                                                  14
                                                       THE BANK OF NEW YORK AS TRUSTEE
                                                  15   FOR THE BENEFIT OF THE CERTIFICATE
                                                       HOLDERS OF THE CWALT, INC.,
                                                  16   ALTERNATIVE LOAN TRUST 2004-J09,
                                                       MORTGAGE               PASS        THROUGH
                                                  17   CERTIFICATES, SERIES 2004-J09; SABLES
                                                       LLC, a Nevada limited liability company; DOE
                                                  18   Individuals 1 through 10; and ROE Corporations
                                                       1 through 10, inclusive,
                                                  19

                                                  20                           Defendants.
                                                  21

                                                  22          Ronald Haus and Eva Berou (“Plaintiffs”) and The Bank of New York Mellon fka The
                                                  23   Bank of New York as Trustee for the Benefit of the Certificate Holders of the CWALT, Inc.,
                                                  24   Alternative Loan Trust 2004-J09 Mortgage Pass Through Certificates Series 2004-J09; Sables,
                                                  25   LLC (collectively, “Defendants”), by and through their undersigned counsel, do hereby stipulate
                                                  26   and agree as follows:
                                                  27          1.     On December 4, 2020, Defendants filed their Motion for Summary Judgment (the
                                                  28   “Motion”).

                                                                                                  Page 1 of 2
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                                                   1          2.       The parties agree that Plaintiffs’ opposition to the Motion shall be due on or before

                                                   2   January 18, 2021, due to the ongoing Covid-19 issues and the holidays.

                                                   3          IT IS SO STIPULATED.

                                                   4    Dated: December 28, 2020.                         Dated: December 28, 2020.

                                                   5    BLACK & WADHAMS                                   AKERMAN, LLP

                                                   6
                                                        By: /s/ Chris V. Yergensen_____________           By:/s/ Nicholas E. Belay         _________
                                                   7        CHRIS V. YERGENSEN, ESQ.                          NICHOLAS E. BELAY, ESQ.
                                                            Nevada Bar #6322                                  Nevada Bar #15175
                                                   8        MARK LOUNSBURY, ESQ.                              1635 Village Center Circle, Suite 200
                                                            Nevada Bar #15217                                 Las Vegas, NV 89134
                                                   9
                                                            10777 West Twain Ave, 3rd Floor               Attorneys for Defendants
                                                  10        Las Vegas, Nevada 89135
                                                        Attorneys for Plaintiffs
                                                  11

                                                  12                                                 ORDER

                                                  13          Based on the stipulation of the parties, by and through their respective attorneys of record,
BLACK & WADHAMS

             (702) 869-8801 FAX: (702) 869-2669
               10777 W. Twain Avenue, 3rd Floor




                                                       and for good cause shown, the Court enters the following orders:
                   Las Vegas, Nevada 89135




                                                  14

                                                  15          IT IS HEREBY ORDERED that any opposition to the Motion shall be filed on or before

                                                  16   January 18, 2021.

                                                  17          DATED this _______
                                                                         29th    day of _________________,
                                                                                          December         20__.
                                                                                                             20

                                                  18

                                                  19                                                   U.S. DISTRICT COURT JUDGE

                                                  20
                                                       Submitted by:
                                                  21
                                                       BLACK & WADHAMS
                                                  22

                                                  23   By: /s/Chris V. Yergensen
                                                            CHRIS V. YERGENSEN, ESQ.
                                                  24        Nevada Bar No. 6183
                                                           10777 W. Twain Ave., Suite 300
                                                  25        Las Vegas, NV 89135
                                                       Attorneys for Plaintiffs
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